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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

     v.                                Case No. 06-cr-34-01-PB

Anthony Burnett, et al.



                               O R D E R


     The defendant has moved to continue the April 4, 2006 trial

in the above case, citing the need for additional time to

complete extensive discovery and prepare a defense.           The

government and co-defendant Quenta Parker do not object to a

continuance of the trial date.

     Accordingly, in order to allow the parties additional time

to complete discovery and properly prepare for trial, the court

will continue the trial from April 4, 2006 to July 6, 2006.               In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendant in a speedy trial.
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      The March 24, 2006 final pretrial conference is continued

until June 26, 2006 at 3:45 p.m.

      SO ORDERED.



                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

March 24, 2006

cc:   David Bownes, Esq.
      Robert Veiga, AUSA
      United States Probation
      United States Marshal




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